              Case 4:21-mj-07015-MKD              ECF No. 2        filed 01/15/21     PageID.7 Page 1FILED
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